                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION - DETROIT

 In re:                                          ) Case No. 22-41803
                                                 )
 Donald C. Darnell,                              ) Judge Maria L. Oxholm
                                                 ) Chapter 7
     Debtor                                      )
                                                 )

                           SUBCHAPTER V TRUSTEE’S
                    APPLICATION FOR ORDER APPROVING FEES

          Kimberly Ross Clayson Subchapter V Trustee (“Applicant”) for Donald C.

Darnell (“Debtor”), respectfully submits the following as her first and final

application for compensation:

Procedural Background

          On March 10, 2022, Debtor’s principal on Debtor’s behalf filed voluntary

petition under Chapter 11 and elected to proceed pursuant to Subchapter V. On

March 14, 2022 Applicant was appointed as Subchapter V Trustee for Debtor.

Applicant has performed duties as Subchapter V Trustee from March 14, 2022

through January 31, 2023. The services rendered by Applicant have supported

Debtor’s reorganization efforts and reimbursement of fees and costs is appropriate

and necessary at this time.

          As provided at the Notice of Appointment at Docket No. 11, amended at

Docket No. 12 in this case, Applicant requests fees pursuant to 11 U.S.C. §§330 and



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331 and L.B.R. 2016-1 (ED Mich.). In accordance with L.B.R. 2016-1(a) (ED

Michi) and Fed. R. Bankr. P. 2016(a), Applicant has not received payments nor have

any payments been promised to Applicant for services rendered or to be rendered in

connection with this case. Applicant will be paid with funds on hand with Debtor

and Applicant has not received prior compensation and has no agreement with any

other entity to share in Applicant’s compensation.

1.      Fees requested in present application:

        A.          Applicant requests fees in the amount of $11,088.00.

        B.          Applicant requests expense reimbursement in the amount of $297.73.

        C.          No retainer has been paid to Applicant.

2.      Period in Which Services were Performed: Services were rendered for the

        period of March 14, 2022 through January 31, 2023.

3.      Summary of Services:

        Applicant was appointed as Subchapter V Trustee on March 14, 2022 and

immediately contacted Debtor to obtain information about the Debtor’s financial

affairs and business operations, reason for the petition filing, issues anticipated to

achieve confirmation and the Debtors’ goals in the Chapter 11 case in pursuit of a

successful confirmation of a Chapter 11 Subchapter V Plan of Reorganization.

        Applicant reviewed Debtor’s schedules, statement of financial affairs, tax

returns and financial records.



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        Applicant attended Debtor’s Chapter 11 initial debtor interview and 341

creditor meeting.

        Applicant reviewed and monitored Debtor’s monthly operating reports on file

with the court to evaluate the Debtor’s prospects for reorganization.

        Applicant reviewed Debtor’s plan of reorganization and creditor plan

objections and facilitated resolution of objections in order to promote confirmation

of a plan by consent.

        Applicant attended Debtor’s confirmation hearing to support confirmation of

the plan.

4.      Adversary proceedings: No adversary proceedings were filed in this matter.

The status of the bankruptcy matter is that the case was converted from a Chapter 11

case to a Chapter 7 on November 21, 2022.

5.      Nature of services to be provided in the future: The Debtor’s case has been

        converted and Applicant anticipates it will not perform any further services.

6.      Duplication of Services: Applicant performed all services without the

        assistance of any other professionals.

7.      Fees and costs previously approved to Applicant: None.

8.      A copy of a Proposed Order is attached as Exhibit 1.

9.      A copy of the notice of appointment of Applicant is attached as Exhibit 2.

10.     A summary statement of the number of hours of services rendered by



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        Applicant is is attached as Exhibit 4.

11.     An itemized time record is attached as Exhibit 5.

12.     A brief biographical statement is attached as Exhibit 6.

13.     An itemized statement of expenses for which reimbursement is sought is

        attached as Exhibit 7.

        Wherefore Applicant requests that this Honorable Court enter an order

 approving fees for Subchapter V Truste in the amount of $11,088.00 and expense

 reimbursement of $297.73.

                                                 Respectfully submitted,

                                                 SUBCHAPTER V. TRUSTEE

Dated: March 1, 2023                             By: /s/ Kimberly Ross Clayson
                                                 Kimberly Ross Clayson (P69804)
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 27777 Franklin Road – Suite 2500
                                                 Southfield, MI 48034
                                                 P: 248.351.3000
                                                 kclayson@taftlaw.com




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

 In re:                                         ) Case No. 22-41803
                                                )
 Donald C. Darnell,                             ) Judge Maria L. Oxholm
                                                ) Chapter 7
     Debtor                                     )
                                                )

                                    EXHIBIT LIST

      Ex. No.                         Description

      1.                              Proposed Order

      2.                              US Trustee filed Notice of Appointment

      3.                              N/A

      4.                              Summary of Applicant’s Fees

      5.                              Itemized Invoice

      6.                              Biography

      7.                              Itemized Statement of Expenses




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                                      EXHIBIT 1

                                   [Proposed Order]




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

 In re:                                         ) Case No. 22-41803
                                                )
 Donald C. Darnell,                             ) Judge Maria L. Oxholm
                                                ) Chapter 7
     Debtor                                     )
                                                )

                     ORDER APPROVING APPLICATION FOR
                    COMPENSATION FOR DEBTOR’S COUNSEL

       This matter having come before the Court upon the application of Kimberly
Ross Clayson, Chapter 7 Subchapter V Trustee, all interested parties having been
served with notice of the application and the provisions of E.D. Mich. LBR 2016-1
having been met, no objections to the application having been received and a
certification of no response having been filed, and the Court being otherwise fully
advised in the premises;

          IT IS HEREBY ORDERED:

          1. The Court grants Applicant’s current fee application as follows:
              This award for fees:      $ 11,088.00
              This award of costs:      $      297.73

              TOTAL AWARD:               $ 11,385.72

          2. This award covers services rendered and expenses incurred during the time
             period of March 14, 2022 through January 31, 2023.




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                                      EXHIBIT 2

                      [US Trustee Filed Notice of Appointment]




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                     UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                                 Case No. 22-41803-lsg

Donald C. Darnell.,                                    Subchapter V – Chapter 11

               Debtor.                                 Hon. Lisa S. Gretchko

         NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

         Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the

following qualified individual as Subchapter V trustee in the above-captioned case:

Kimberly Ross Clayson
Jaffe Raitt Heuer & Weiss, P.C.
27777 Franklin Rd., Ste. 2500
Southfield, MI 48034
(248) 727.1635
Email: kclayson@jaffelaw.com

         The trustee’s verified statement of disinterestedness and anticipated rate of

compensation is attached to this notice.

                                                  Respectfully submitted,

                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE
                                                Regions 3 and 9
                                                By: /s/ Timothy Graves
                                                Trial Attorney
                                                Office of the U.S. Trustee
                                                211 West Fort St - Suite 700
                                                Detroit, Michigan 48226
                                                (313) 226-7259
                                                timothy.graves@usdoj.gov
Date: March 14, 2022                            [P64622]




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                                       EXHIBIT 3

                                    [Not Applicable]




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                                       EXHIBIT 4

                              [Summary of Applicant’s Fees]




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 In re:                                                  ) Case No. 22-41803
                                                         )
 Donald C. Darnell,                                      ) Judge Maria L. Oxholm
                                                         ) Chapter 7
     Debtor                                              )
                                                         )

                    SUMMARY OF SUBCHAPTER V TRUSTEE FEES

33.6 hours x $330.00/hour .........................................................................$11,088.00




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                                       EXHIBIT 5

                                  [Itemized Invoice(s)]




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                                                                                           Taft Stettinius & Hollister LLP

Client/File #KRCTTE/DARNEL                                                                             Invoice #: 5958468

PROFESSIONAL SERVICES RENDERED


   Date    Atty   Code   Code Description      Description Of Services Rendered                         Hours    Amount

 3/14/22   KRC    B110   Case Administration   Received and reviewed verified statement and                .10      33.00
                                               signed.
 3/14/22   KRC    B110   Case Administration   Read bankruptcy schedules.                                  .40    132.00
 3/16/22   KRC    B110   Case Administration   Further analysis of elected exemptions and review           .50    165.00
                                               of schedules.
 3/16/22   KRC    B110   Case Administration   Introductory call with debtor re sub v proceeding.          .30      99.00
 3/16/22   KRC    B110   Case Administration   Attention to email re garnishment.                          .10      33.00
 3/24/22   KRC    B110   Case Administration   Call from creditor's counsel to answer questions            .20      66.00
                                               about case.
 3/24/22   KRC    B110   Case Administration   Attend initial scheduling conference.                      2.60    858.00
 3/24/22   KRC    B110   Case Administration   Review of statement of financial affairs and review         .20     66.00
                                               of proposed scheduling order.
 3/25/22   KRC    B110   Case Administration   Idi meeting attendance.                                     .50    165.00
 4/04/22   KRC    B110   Case Administration   Received and reviewed attorney declaration and              .10     33.00
                                               debtor's declaration of schedules.
 4/11/22   KRC    B150   Meetings of and       Attendance at 341 creditor meeting.                        1.10    363.00
                         Communications
                         with Creditors
 4/11/22   KRC    B150   Meetings of and       Call with E. Crowder about issues with case,                .10      33.00
                         Communications        exemptions and risk of dismissal over insurance
                         with Creditors        issues.
 4/12/22   KRC    B150   Meetings of and       Received and reviewed 2004 exam and reply to                .30      99.00
                         Communications        creditor's counsel.
                         with Creditors
 4/12/22   KRC    B110   Case Administration   Call with G. Conti to facilitate resolution of 2004         .20      66.00
                                               exam stip.
 4/23/22   KRC    B110   Case Administration   Received and read status conference report and              .50    165.00
                                               statement of operations.
 4/23/22   KRC    B110   Case Administration   Received and read motion for 2004 examination.              .30      99.00
 4/26/22   KRC    B110   Case Administration   Call with UST T. Graves about malpractice                   .20      66.00
                                               insurance requirement and issues for dismissal.
 4/28/22   KRC    B110   Case Administration   Insurance inquiry follow up to ust.                         .10     33.00
 4/28/22   KRC    B110   Case Administration   Attendance on status conference.                           1.30    429.00
 4/28/22   KRC    B110   Case Administration   Call with E. Crowder to discuss means to resolve            .20     66.00
                                               2004 exam request.
 4/29/22   KRC    B110   Case Administration   Review of case for monthly report.                          .10      33.00
 5/05/22   KRC    B110   Case Administration   Read 2004 response, call with creditor's counsel            .30      99.00
                                               about issues with response.
 5/17/22   KRC    B110   Case Administration   Attended meet and confer on 2004 exam motion.               .80    264.00
 5/18/22   KRC    B110   Case Administration   Read and approved order for 2004 examination.               .40    132.00
 6/07/22   KRC    B110   Case Administration   Responded to phone call inquiry from creditor's             .20     66.00
                                               counsel.
 6/23/22   KRC    B110   Case Administration   Reviewed docket and update for trustee monthly              .30      99.00
                                               report.
 6/23/22   KRC    B320   Plan and Disclosure   Read and reviewed plan, review of professional             1.40    462.00
                         Statement             liability policy, notes on plan and email to debtor's
                                               counsel about remarks on plan.
 6/27/22   KRC    B110   Case Administration   Call with creditor counsel about withdrawal.                .20      66.00
 6/29/22   KRC    B110   Case Administration   Received and read objections to exemptions.                 .20      66.00
 7/12/22   KRC    B110   Case Administration   Received and read debtor's response to objections           .20      66.00
                                               on exemptions.

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                                                                                          Taft Stettinius & Hollister LLP

Client/File #KRCTTE/DARNEL                                                                             Invoice #: 5958468

    Date   Atty   Code   Code Description      Description Of Services Rendered                         Hours    Amount
 8/17/22   KRC    B110   Case Administration   Read exemption briefs, reviewed unsecured claims          1.20     396.00
                                               and irs claim.
 8/17/22   KRC    B110   Case Administration   Review of plan and projections on feasibility              1.00    330.00
                                               question, call with debtor with questions on the
                                               same and sent sample projections spreadsheet to
                                               support feasibility position.
 8/18/22   KRC    B110   Case Administration   Call with debtor about exemption issue.                     .30     99.00
 8/18/22   KRC    B110   Case Administration   Attended hearing on exemption issue.                       1.20    396.00
 9/12/22   KRC    B110   Case Administration   Notes to monthly trustee report.                            .30     99.00
 9/12/22   KRC    B320   Plan and Disclosure   Read objection to plan. Emails with debtor to               .60    198.00
                         Statement             discuss plan and objection, status of amended plan
                                               and addressing exemption issue.
 9/20/22   KRC    B320   Plan and Disclosure   Reviewed plan, notes on plan confirmation issues,          1.80    594.00
                         Statement             email to debtor about the revisions needed,
                                               research re LLC rights in bankruptcy liquidation
                                               analysis, read 8080 grand operating agreement.
 9/22/22   KRC    B320   Plan and Disclosure   Read over revised exhibits for projections and lqa.         .40    132.00
                         Statement
 9/23/22   KRC    B320   Plan and Disclosure   Read over amended exhibits with plan projections            .50    165.00
                         Statement             and liquidation analysis.
 9/30/22   KRC    B320   Plan and Disclosure   Read IRS and creditor objections to plan.                   .50    165.00
                         Statement
10/03/22   KRC    B320   Plan and Disclosure   Reviewed lqa and notes on issues pertaining to             1.00    330.00
                         Statement             plan confirmation.
10/04/22   KRC    B320   Plan and Disclosure   Phone conversation with counsel for souliotis about         .40    132.00
                         Statement             issues with plan and ability to obtain consent.
10/04/22   KRC    B320   Plan and Disclosure   Phone conversation with debtor about issues in              .80    264.00
                         Statement             plan and confirmation.
10/04/22   KRC    B320   Plan and Disclosure   Read over Mich treasury objection to plan                   .20     66.00
                         Statement             confirmation.
10/04/22   KRC    B320   Plan and Disclosure   Read over amendments to plan.                               .80    264.00
                         Statement
10/05/22   KRC    B320   Plan and Disclosure   Call with client to go over concerns in plan and            .80    264.00
                         Statement             confirmation and concepts for obtaining
                                               confirmation with creditor approval.
10/05/22   KRC    B320   Plan and Disclosure   Call with objecting creditor counsel J. Turck to            .30     99.00
                         Statement             discuss options for agreeing to plan with
                                               amendments.
10/05/22   KRC    B320   Plan and Disclosure   Calls with us trustee's office about concerns related       .80    264.00
                         Statement             to plan and query about plan objections.
10/05/22   KRC    B320   Plan and Disclosure   Follow up with debtor with sample plan projection           .20     66.00
                         Statement             on debtor's request to resend.
10/24/22   KRC    B320   Plan and Disclosure   Received and read objections by UST and                     .20     66.00
                         Statement             mortgage creditor to debtor's plan.
10/31/22   KRC    B110   Case Administration   Case by case monthly report update.                         .30     99.00
11/08/22   KRC    B320   Plan and Disclosure   Received and read over responses to plan                   1.00    330.00
                         Statement             objections, revised projections and response to
                                               debtor regarding the same.
11/08/22   KRC    B320   Plan and Disclosure   Research regarding liquidation analysis and                 .60    198.00
                         Statement             authority to rely on charging lien protections
                                               Michigan statutes.
11/09/22   KRC    B320   Plan and Disclosure   Review of amended plan, attention to confirmation          1.80    594.00
                         Statement             adjournment, review of responses to objections to
                                               plan.
11/10/22   KRC    B320   Plan and Disclosure   Appearance at confirmation hearing.                        1.00    330.00
                         Statement
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                                                                                              Taft Stettinius & Hollister LLP

Client/File #KRCTTE/DARNEL                                                                              Invoice #: 5958468

    Date   Atty   Code   Code Description      Description Of Services Rendered                           Hours     Amount
11/10/22   KRC    B110   Case Administration   Transmitted conversion stip to souliotis for                 .20       66.00
                                               approval.
12/30/22   KRC    B160   Fee/Employment        Draft and preparation of fee application.                    2.00      660.00
                         Applications


                                     TOTAL PROFESSIONAL SERVICES                                                   11,088.00
COSTS ADVANCED

    Date   Description                                                                                              Amount
 9/15/22   Westlaw charges                                                                                           170.71
           Copying/printing                                                                                           11.85
11/08/22   Westlaw charges                                                                                           115.17

                                     TOTAL COSTS ADVANCED                                                             297.73

                                     TOTAL THIS INVOICE                                                            11,385.73

SUMMARY OF PROFESSIONAL SERVICES

Atty        Name                           Staff Level                     Hours                Rate                   Total
KRC         Kimberly Clayson               Partner                          33.60             330.00               11,088.00
            TOTALS                                                          33.60                                  11,088.00



SUMMARY BY TASK CODE

Code        Code Description                                              Timekeeper                    Hours          Fees
B110        Case Administration                                           Kimberly Ross Clayson          15.00      4,950.00
B150        Meetings of and Communications with Creditors                 Kimberly Ross Clayson           1.50        495.00
B160        Fee/Employment Applications                                   Kimberly Ross Clayson           2.00        660.00
B320        Plan and Disclosure Statement                                 Kimberly Ross Clayson          15.10      4,983.00

                                                                                                         33.60     11,088.00




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                                       EXHIBIT 6

                                       [Biography]




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 In re:                                         ) Case No. 22-41803
                                                )
 Donald C. Darnell,                             ) Judge Maria L. Oxholm
                                                ) Chapter 7
     Debtor                                     )
                                                )

                      CHAPTER 7 SUBCHAPTER V TRUSTEE
                        BIOGRAPHICAL STATEMENTS

     KIMBERLY ROSS CLAYSON:
     - Partner, Jaffe Raitt Heuer & Weiss, PC
     - Michigan State University, B.A. International Relations, Emphasis in
       Economics – 2002
     - University of Detroit Mercy School of Law, J.D. 2006
     - Member, State Bar of Michigan 2006 – present
     - Trustee, Subchapter V, Chapter 11 of the Bankruptcy Code 2020 – present
     - Hearing Panelist, State of Michigan Attorney Discipline Board 2019 –
       present
     - Crain’s Detroit Business Notable Women of Law 2021, Hon. Mention
       2018
     - Adjunct Professor, Bankruptcy – University of Detroit Mercy School of
       Law, Fall 2022
     - Adjunct Professor, Secured Transactions – University of Detroit Mercy
       School of Law, Fall 2019, Fall 2021,
     - Speaker, Federal Bar Association for the Western District of Michigan,
       Annual Bankruptcy Conference, 2022
     - Speaker, ABI Hon. Stephen W. Rhodes Consumer Bankruptcy Conference
       2014-2019
     - ABI Hon. Stephen W. Rhodes Consumer Bankruptcy Conference
       Advisory Committee 2019-2020
     - CBA Hon. Stephen W. Rhodes Consumer Bankruptcy Conference
       Advisory Committee 2021
     - Member American Bankruptcy Institute
     - Member Federal Bar Association


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     - Member Women’s Law Association of Michigan – Wayne Region
     - Member National Association of Bankruptcy Trustees
     - ICLE Contributor Chapter 11 Subchapter V Training Program
     - ICLE Small Business Formation Certification 2019
     - ICLE Author, Bankruptcy Causes of Action Chapter of Michigan Causes
     - of Action, pub. 2020
     - Board Member, Outlier Media, 2022 – current
     - Board Member, Economic Development Corporation for the City of
       Detroit, 2014 - current
     - Former Board Member, Treasurer, Detroit Walldorf School, 2010 - 2016
     - Former Board Member, President, The Villages of Detroit Community
       Development Corporation, 2007 - 2012




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                                         EXHIBIT 7

                              [Itemized Statement of Expenses]




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 In re:                                                       ) Case No. 22-41803
                                                              )
 Donald C. Darnell,                                           ) Judge Maria L. Oxholm
                                                              ) Chapter 7
     Debtor                                                   )
                                                              )

                                        ITEMIZED EXPENSES

Westlaw charges .............................................................................................$285.88

Copying/printing ...............................................................................................$11.85




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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT

 In re:                                           ) Case No. 22-41803
                                                  )
 Donald C. Darnell,                               ) Judge Maria L. Oxholm
                                                  ) Chapter 7
     Debtor                                       )
                                                  )

NOTICE OF APPLICATION FOR APPROVAL OF FEES AND COSTS OF
            CHAPTER 7 SUBCHAPTER V TRUSTEE

      Notice is hereby given that Kimberly Ross Clayson, Chapter 7 Subchapter V
Trustee has made application to the Bankruptcy Court for allowance of fees and
expenses as listed below:

                     Fees Requested              Expenses Requested
                     $11,088.00                  $297.73

                    TOTAL: $11,385.73

Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one.)

PLEASE NOTE: The application is available for public scrutiny at the United States
Bankruptcy Court Clerk’s Office, 211 W. Fort Street, Detroit, MI 48226, Monday
through Friday, from 9:00 a.m. until 4:00 p.m. No hearing will be set before the
Court unless a written objection to this application is timely filed with the Clerk of
the Bankruptcy Court. If you have any objection, you have twenty (21) days from
the date of service of this notice in which to file such written objection. In the event
an objection is filed, a subsequent notice will be sent to you of the date, time, and
location of the hearing on the objection.

If you do not want the court to award these fees and costs, or if you want the court
to consider your views on the fee application, within 21 days from the date of service
you or your attorney must:



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    1. File with the court a written response or an answer, explaining your position,
       with the U.S. Bankruptcy Court Clerk’s Office at: 211 W. Fort St., Detroit,
       MI 48226. If you mail your response to the court you must mail it early
       enough so that the court will receive it on or before the date stated above.

    2. You must also mail a copy of your response or answer to:

        (a)         Kimberly Ross Clayson, Subchapter V Trustee, 27777 Franklin Rd.,
                    Ste. 2500, Southfield, MI 48034; and
        (b)         Office of the United States Trustee, 211 West Fort Street, Suite 700,
                    Detroit, MI 48226.

    3. If a response or answer is timely filed and served, the clerk will schedule a
       hearing on the application and you will be served with a notice of the date,
       time and location of the hearing.

If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought and may enter an order granting that relief.

                                                    Respectfully submitted,

                                                    SUBCHAPTER V. TRUSTEE

Dated: March 1, 2023                                By: /s/ Kimberly Ross Clayson
                                                    Kimberly Ross Clayson (P69804)
                                                    TAFT STETTINIUS & HOLLISTER LLP
                                                    27777 Franklin Road – Suite 2500
                                                    Southfield, MI 48034
                                                    P: 248.351.3000
                                                    kclayson@taftlaw.com




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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION - DETROIT

 In re:                                         ) Case No. 22-41803
                                                )
 Donald C. Darnell,                             ) Judge Maria L. Oxholm
                                                ) Chapter 7
     Debtor                                     )
                                                )

                              CERTIFICATE OF SERVICE

      Re: Application for Order Approving Fees and Expenses for Chapter 7,
          Subchapter V Trustee; Proposed Order; List of Exhibits; Exhibits; Notice;
          Certificate of Service.

      I hereby certify that on March 1, 2023, I electronically filed the foregoing

papers with the Clerk of the Court using the ECF system, which will send

notification of such filing to the Office of the United States Trustee and all those

listed by the Court as receiving electronic notices in this case from the Court’s

CM/ECF system.

                                                 Respectfully submitted,

                                                 SUBCHAPTER V. TRUSTEE

Dated: March 1, 2023                             By: /s/ Kimberly Ross Clayson
                                                 Kimberly Ross Clayson (P69804)
                                                 TAFT STETTINIUS & HOLLISTER LLP
                                                 27777 Franklin Road – Suite 2500
                                                 Southfield, MI 48034
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                                                 kclayson@taftlaw.com




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